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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION



   IN RE:                              )       CASE NO:    13-35654-H1
                                       )
                                       )           Houston, Texas
   KHAWAJA PARTNERS, LTD. AND          )
   JETALL COMPANIES, INC.,             )     Thursday, January 2, 2014
                                       )     (9:01 a.m. to 9:05 a.m.)
                     Debtors.          )

   KHAWAJA PARTNERS, LTD.,             )
                                       )
                     Plaintiff,        )
                                       )       CASE NO: 13-03252-H1-ADV
         vs.                           )
                                       )
   JETALL COMPANIES, INC.,             )
                                       )
                     Defendant.        )


                                     HEARING

                     BEFORE THE HONORABLE MARVIN ISGUR,
                       UNITED STATES BANKRUPTCY JUDGE



   Appearances:                  See Next Page

   Court Reporter:               Recorded; FTR

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   APPEARANCES FOR:


   Debtor:                       MARC DOUGLAS MYERS, ESQ.
                                 Adair and Myers, P.L.L.C.
                                 3120 Southwest Freeway
                                 Suite 320
                                 Houston, TX 77098

   Jetall Companies, Inc.:       JOSEPH D. SIBLEY, IV, ESQ.
                                 Ahmad, Zavitsanos, et al.
                                 4400 Post Oak Parkway
                                 Suite 2700
                                 Houston, TX 77027




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 1         Houston, Texas; Thursday, January 2, 2014; 9:01 a.m.

 2                                (Call to Order)

 3                THE CLERK:    All rise.

 4                THE COURT:    Please be seated.

 5                Alright, good morning.     The first cases that we're

 6   going to call are the Khawaja Partners versus Jetall, 13-3252,

 7   and the Khawaja Partners main case, which is 13-35654.

 8                MR. MYERS:    Good morning, your Honor.

 9                THE COURT:    Good morning.

10                MR. MYERS:    Marc Myers on behalf of the debtor.

11                THE COURT:    Alright.    Do we have --

12                MR. SIBLEY:    Good morning, your Honor, Joe Sibley on

13   behalf of Jetall.

14                THE COURT:    So we have a problem.     I need to know if

15   Serena Yu -- I have a next-door neighbor for over ten years

16   named Serena Yu.     We share, literally, a property line, so this

17   isn't just somebody in the neighborhood, and I would recuse in

18   the case if this is the same Serena Yu.         I'm sorry to bring

19   you-all down here, but I don't even know if it is the same

20   Serena Yu.

21                Do you happen to know?

22                MR. SIBLEY:    Yu is a common surname among --

23                THE COURT:    Right.

24                MR. SIBLEY:    -- Chinese people.    I just don't know,

25   your Honor.    I haven't --
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 1              THE COURT:    Do you know whether the family is

 2   involved in some McDonald's franchises?

 3              MR. SIBLEY:     Your Honor, I don't know.

 4              THE COURT:    I need to figure this out so that I know

 5   whether to recuse.     And I'm sorry to have you-all down here,

 6   but I don't want to recuse when I'm not supposed to and I do

 7   want to recuse if I am supposed to.        And I just don't think

 8   that people would feel right if it turns out that this was,

 9   again, not just a casual neighbor but my next-door neighbor.

10              MR. SIBLEY:     Your Honor, just so I could perhaps

11   assist with this, do you happen -- could you --

12              THE COURT:    She would have lived at 8 Bradfield

13   Court.

14              MR. SIBLEY:     Eight Bradfield Court.

15              THE COURT:    Yeah.    And will know my name.      And if she

16   was involved in McDonald's franchises, it's the same Serena Yu,

17   and if she wasn't, it's not.

18              MR. SIBLEY:     And if it turns out that that's the

19   case, your Honor, how would you --

20              THE COURT:    Can you just file a notice that says

21   you've made an inquiry and that this is the Serena Yu that was

22   discussed at the hearing, at which point I'll promptly recuse?

23   And I'll recuse out of both the main case and this.

24              MR. SIBLEY:     I can certainly do that, your Honor.

25              THE COURT:    I don't think it is.      I was unaware of
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 1   this until you-all filed the amended lawsuit, so I think any

 2   prior actions I've taken in the case, recusal would not have

 3   been appropriate then.      So I don't think this is going to go

 4   back and affect anything historic.        But my guess is Serena is

 5   not a very common name.

 6              MR. SIBLEY:     Serena as a first name, that's probably

 7   correct, with that surname.

 8              THE COURT:    So I'm sorry to impose on you-all for

 9   that, but can I get you to just check on that and file a notice

10   and then if I recuse, obviously we'll do nothing.           If we don't,

11   then I'll bring you-all back down and I'll issue a scheduling

12   order.

13              MR. SIBLEY:     Certainly could do that, your Honor.

14              I do have one question --

15              THE COURT:    Sure.

16              MR. SIBLEY:     -- about the Court's prior actions.       The

17   last time we were here, the Court, I don't know if 'rules' is

18   the correct word, but the Court indicated that it would treat

19   the property transaction as a deeded conveyance, subject of

20   course to the debtor's claims for fraudulent conveyance, et

21   cetera.   I was wondering if the Court could, or wanted, to

22   issue some sort of order on that or how the Court --

23              THE COURT:    I actually don't want to do anything at

24   this point if I'm supposed to recuse.         And there'll be a

25   transcript of that hearing, or a tape of the hearing, which you
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 1   can order.    And if the next Judge -- If I don't recuse, this is

 2   going to be easy.     If I do recuse, the next Judge may deal with

 3   that however the next Judge wants to deal with that.

 4                MR. SIBLEY:    I understand.

 5                THE COURT:    And I won't direct which Judge it goes

 6   to.   If I recuse, it'll just go back into the random draw and

 7   it'll be one of the other four Houston judges.

 8                Sorry to inconvenience you-all here on the first day

 9   of the year.

10                MR. SIBLEY:    That's alright.    I'll get on that

11   immediately, your Honor, and let the Court and counsel know as

12   soon as possible.

13                THE COURT:    Thank you.   When you file that notice,

14   would you just -- it won't be something we would normally be

15   searching for.    Would you just pick up the phone and call Mr.

16   Rios and let him know it's filed, and I'll pull it and then

17   I'll get the order entered right away?

18                MR. SIBLEY:    Of course, your Honor.     Thank you, your

19   Honor.

20                THE COURT:    Sorry.   Okay, thank you.    You-all have a

21   good new year.

22                MR. SIBLEY:    May I be excused?

23                THE COURT:    Yes, thank you.

24         (This proceeding was adjourned at 9:05 a.m.)

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                                 CERTIFICATION



   I certify that the foregoing is a correct transcript from the

   electronic sound recording of the proceedings in the above-

   entitled matter.




                                                   January 6, 2014



                           TONI HUDSON, TRANSCRIBER




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